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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                 )
PRESIDENT, INC.; et al.,            ) Electronically Filed
                                    )
             Plaintiffs,            ) Civil Action
                                    )
      v.                            ) No.: 2-20-CV-966
                                    )
KATHY BOOCKVAR; et al.,             )
                                    ) Judge J. Nicholas Ranjan
             Defendants.            )

       APPENDIX OF MATERIALS IN SUPPORT OF PLAINTIFFS’ MOTION
            TO MODIFY AND/OR LIFT STAY ORDER (ECF # 410)
       AND MOTION FOR LIMITED PRELIMINARY INJUNCTIVE RELIEF

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          Case 2:20-cv-00966-NR Document 415 Filed 08/28/20 Page 2 of 3




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 Exhibit                                        Description

   A-1        Jonathan Marks Deposition Excerpts

   A-2        Jonathan Marks Deposition Exhibit 5

   A-3        Jonathan Marks Deposition Exhibit 6

   A-4        Jonathan Marks Deposition Exhibit 10

   A-5        Jonathan Marks Deposition Exhibit 11

   A-6        Jonathan Marks Deposition Exhibit 12

   A-7        Jonathan Marks Deposition Exhibit 13

   A-8        Jonathan Marks Deposition Exhibit 24

   A-9        Jonathan Marks Deposition Exhibit 25

  A-10        Jonathan Marks Deposition Exhibit 26

  A-11        Jonathan Marks Deposition Exhibit 20

  A-12        Jonathan Marks Deposition Exhibit 21

  A-13        Jonathan Marks Deposition Exhibit 22

  A-14        Jonathan Marks Deposition Exhibit 7

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A-15      Jonathan Marks Deposition Exhibit 8

A-16      Jonathan Marks Deposition Exhibit 9

A-17      Jonathan Marks Deposition Exhibit 37

B-1       August 21, 2020 Email Message from K. Bokhan at 9:10 a.m.

B-2       “Pennsylvania Absentee and Mail-In Ballot Return Guidance,” ver. 1 (Aug. 19,
          2020) [bate-stamped as “PADOS000750.000001-8”]

B-3       “Pennsylvania Guidance for Missing Official Ballot Envelopes (“Naked
          Ballots”),” ver. 1 (Aug. 19, 2020) [bate-stamped as “PADOS000751.000001-2”]

C-1       Kathy Boockvar Deposition Excerpts

C-2       Kathy Boockvar Deposition Exhibit 6

C-3       Kathy Boockvar Deposition Exhibit 7

C-4       Kathy Boockvar Deposition Exhibit 8

C-5       Kathy Boockvar Deposition Exhibit 13

C-6       Kathy Boockvar Deposition Exhibit 12

C-7       Kathy Boockvar Deposition Exhibit 18

 D        June 30, 2020 Email Message between K. Boockvar and N. Custodio [bate-stamped
          as “PADOS000384.000001-2”]

 E        Kathy’s Boockvar Tweet

 F        Larger Copy of Photograph from Tweet in App. Exh. E [bate-stamped as
          “P002078”]

 G        Elk County Video Clips from June 2, 2020

 H        October 29, 2019 Cmwlth. of Pa. Legis. Jour., No. 64, p. 1739 (cmts of Rep. Everett)

 I        January 10, 2020 Email Message from K. Lehman [bate-stamped as
          “PADOS000609.000001-5”]

 J        Secretary Boockvar’s Objections and Responses to Plaintiffs’ Interrogatories and
          Request for Production of Documents, served August 10, 2020




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